                              NO. 07-10-00267-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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NOVEMBER 23, 2010
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                       MORTGAGE ELECTRONIC REGISTRATION
                           SYSTEMS, INC., APPELLANT
                                       
                                      v.
                                       
                            MARK DISANTI, APPELLEE 
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                FROM THE 393RD DISTRICT COURT OF DENTON COUNTY;
                                       
            NO. 2009-60324-393; HONORABLE DOUGLAS M. ROBISON, JUDGE
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Appellant Mortgage Electronic Registration Systems, Inc., and appellee Mark DiSanti have filed a joint motion, by which they state the parties have settled all disputed matters in the underlying litigation.  They ask us to vacate the judgment of the trial court and remand the case to that court for dismissal of all claims with prejudice.  The attorneys for the parties state they agreed to the form and substance of the motion.  According to the motion, which is signed by attorneys for both parties, an attached exhibit is a written agreement expressing the parties' request for voluntary disposition of the appeal.
	We grant the motion.  The judgment of the trial court is set aside without regard to the merits.  The case is remanded to the trial court for rendition of judgment in accordance with the agreement of the parties. Tex. R. App. P. 42.1(a)(2)(B).  In the absence of an agreement, costs are taxed against appellant.  Tex. R. App. P. 42.1(d).
	Because voluntary relief is granted at the request of the parties, we will not consider a motion for rehearing and our mandate will issue forthwith.

								James T. Campbell
									Justice

